USCA4 Appeal: 07-4115    Doc: 163     Filed: 06/30/2009   Pg: 1 of 1


                                                              Filed: June 30, 2009


                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT
                             1100 East Main Street, Suite 501
                              Richmond, Virginia 23219-3517
                                   www.ca4.uscourts.gov

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                                   DOCUMENT TRANSMITTAL
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                        No. 07-4060, US v. Paulette Martin
                                     8:04-cr-00235-RWT

        TO: Paulette Martin

        Receipt is acknowledged of your letter recently transmitted to
        the Court. The Court has entered an order denying the request
        for leave to file a pro se supplemental brief because the motion
        was not accompanied by the proposed brief. We have also
        forwarded the letter to your attorney, who will act in your
        behalf. All future correspondence, including motions, should be
        sent to your attorney.

        Sharon A. Wiley
        Deputy Clerk
        804-916-2704
